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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

UNITED STATES OF AMERICA                              '
                                                      '          CRIMINAL CASE NO.
v.                                                    '          3:17-CR-155-L (07)
                                                      '
MICHAEL TABA                                          '


          MOTION FOR LEAVE TO FILE DEFENDANT TABA’S MOTION FOR
         CONTINUANCE OF TRIAL AND PRETRIAL MATERIALS DEADLINES


         COMES NOW, MICHAEL TABA, defendant, by and through his counsel of record, Erin

Brennan, and hereby requests leave to file Defendant Taba’s Motion for Continuance of Trial and

Pretrial Materials Deadlines, and in support presents the following:

         1.        Pretrial motions were due January 3, 2020. (Doc. 251.) The most recent criminal

trial scheduling order states that no pretrial motions will be entertained unless leave to file is

granted by this Court. (Doc. 540.)

         2.        The defense hereby requests leave to file their motion for continuance and contends

that good cause exists due to an unforeseeable car accident that rendered Dr. Taba’s prior counsel

unable to work due to a prolonged concussion. The attached motion for continuance delves into

this matter more deeply. Moreover, counsel has been working as diligently as possible to avoid

having to file a motion for a continuance, knowing that the Court has set a firm deadline for trial,

but said motion is critical and necessary at this point. Finally, the defense requested as short of a

continuance as possible – 30 days, not 6 months – being mindful of the Court’s availability,

resources, schedule, and full docket.

         3.        The ends of justice would be better served if this motion is granted.



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        WHEREFORE, Dr. Taba respectfully requests leave to file Defendant Taba’s Motion for

Continuance of Trial and Pretrial Materials Deadlines.

                                                       Respectfully,


                                                       /s/ Erin Brennan
                                                       Erin Brennan
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                             CERTIFICATE OF CONFERENCE

        I hereby certify that on August 5, 2023, I conferred with Ethan Womble, Assistant United
States Attorney, concerning the foregoing motion and he advised that the government opposes said
motion.

                                                       /s/ Erin Brennan
                                                       ERIN BRENNAN




                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 7, 2023, I electronically filed the foregoing document using
the ECF system of the United States District Court, Northern District of Texas. Pursuant to L.
CRIM. R. 49.2(f), delivery of the automatically generated ECF notice constitutes service under
FED. R. CRIM. P. 49(b) on the attorney(s) of record.



                                                       /s/ Erin Brennan
                                                       ERIN BRENNAN




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